Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2635 Page 1 of 43



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        Palomar Community College District
    9
   10                           UNITED STATES DISTRICT COURT
   11                        SOUTHERN DISTRICT OF CALIFORNIA
   12   KATHRYN KAILIKOLE, an                    Case No: 3:18-cv-02877-AJB-MSB
   13   individual,
                                                 [Previously San Diego Superior Court
   14                       Plaintiff,           Case No. 37-2018-00058754-CU-WT-NC
                                                 before the Honorable Ronald F. Frazier]
   15          v.
                                                 DEFENDANT PALOMAR
   16
        PALOMAR COMMUNITY                        COMMUNITY COLLEGE
   17   COLLEGE DISTRICT, a                      DISTRICT’S ANSWER AND
        governmental entity; and DOES 1          AFFIRMATIVE DEFENSES TO
   18   through 25, inclusive,                   PLAINTIFF’S FIRST AMENDED
                                                 COMPLAINT
   19                       Defendants.
   20                                            State Complaint: November 20, 2018

   21          Defendant     PALOMAR        COMMUNITY           COLLEGE     DISTRICT
   22   (“Defendant”) files this Answer and Affirmative Defenses to Plaintiff KATHRYN
   23   KAILIKOLE’s (“Plaintiff”) Complaint. Except as expressly admitted below,
   24   Defendant denies the allegations in Plaintiff’s Complaint.
   25   ///
   26   ///
   27   ///
   28   ///
                                                1
                                               ANSWER TO FIRST AMENDED COMPLAINT
                                                      CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2636 Page 2 of 43



    1                       RESPONSE TO PLAINTIFF’S ALLEGATIONS
    2                                   General Allegations
    3          1.      In answering Paragraph 1 of the Complaint, Defendant admits that
    4   Plaintiff Kathryn Kailikole was the Dean of Mathematics and the Natural and
    5   Health Sciences (“MNHS”) Division for Palomar College. Further, Defendant
    6   admits that Palomar College is a community college.
    7          2.      In answering Paragraph 2 of the Complaint, Defendant denies it had a
    8   campaign to discredit, discriminate against, embarrass, and retaliate against
    9   Plaintiff through placing Plaintiff on involuntary leave, non-renewing her contract
   10   and terminating her employment. Defendant further denies that Plaintiff’s claims
   11   arise out of the alleged adverse employment actions taken by the District.
   12   Defendant further denies that it retaliated or discriminated against Plaintiff in any
   13   way whatsoever. Defendant lacks sufficient knowledge or information to form a
   14   belief as to whether Plaintiff suffered a disability, and on that basis denies that
   15   Plaintiff had a disability. Defendant denies that it avoided accommodating
   16   Plaintiff’s alleged disability. Except as so denied, Defendant lacks sufficient
   17   knowledge or information to form a belief as to the truthfulness of the allegations
   18   contained in this paragraph, and on that basis denies each and every allegation.
   19          3.      In answering Paragraph 3 of the Complaint, Defendant admits
   20   Plaintiff’s first position with the District was as the Interim Dean of Mathematics
   21   and the Natural Sciences, however, Defendant denies that Plaintiff was hired as
   22   Interim Dean in January 2016. Defendant admits that Plaintiff became the Dean of
   23   Mathematics and the Natural Sciences and signed an employment contract
   24   effective April 11, 2017, with a two-year term to begin on July 1, 2017. Defendant
   25   denies that Plaintiff was named Dean due to her excellent performance as an
   26   administrator, her leadership in managing faculty, her uncompromising
   27   commitment to the well-being of students and her ability to raise funds for the
   28   College.
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2637 Page 3 of 43



    1          4.      In answering Paragraph 4 of the Complaint, Defendant admits that
    2   Plaintiff told Jack Kahn that she was experiencing work-related medical concerns.
    3   Except as so admitted, Defendant lacks sufficient knowledge or information to
    4   form a belief as to the truthfulness of the allegations contained in this paragraph,
    5   and on that basis denies each and every allegation.
    6          5.      In answering Paragraph 5 of the Complaint, Defendant denies that the
    7   student complainant requested to be left anonymous for fear of retaliation.
    8   Defendant denies that the students reported that Takashi Nakajima and Arthur
    9   Gerwig “were engaged in racist and sexually harassing conduct.” Except as
   10   specifically denied, Defendant admits the remainder of the allegations contained in
   11   this paragraph.
   12          6.      In answering Paragraph 6 of the Complaint, Defendant admits that
   13   Plaintiff was an academic dean who was responsible for, among other things,
   14   planning, organizing, administering, developing, and evaluating the instructional
   15   programs, project and activities of her division. Defendant admits that its Human
   16   Resources Department, Office of Student Affairs and Equal Opportunity and
   17   Compliance Office are among the offices and persons responsible for ensuring
   18   compliance with anti-discrimination laws. Defendant also admits that Plaintiff
   19   made forwarded a complaint to Shawna Cohen about Mr. Nakajima and Mr.
   20   Gerwig on May 31, 2017. Defendant denies that Plaintiff was not responsible for
   21   ensuring compliance with relevant anti-discrimination laws, regulations and
   22   policies, and that such responsibility is limited to the Human Resources
   23   Department, Office of Student Affairs and Equal Opportunity and Compliance
   24   Office (“EEO Office”). Except as so admitted and denied, Defendant lacks
   25   sufficient knowledge or information to form a belief as to the truthfulness of the
   26   allegations contained in this paragraph, and on that basis denies each and every
   27   allegation.
   28   ///
                                                  3
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2638 Page 4 of 43



    1          7.      In answering Paragraph 7 of the Complaint, Defendant admits that
    2   Plaintiff had no control over Title IX investigations or remedial actions. Except as
    3   so admitted, Defendant lacks sufficient knowledge or information to form a belief
    4   as to the truthfulness of the allegations contained in this paragraph, and on that
    5   basis denies each and every allegation.
    6          8.      In answering Paragraph 8 of the Complaint, Defendant admits that
    7   after its Title IX Coordinator reviewed the postings in the physics lab, the District
    8   began an investigation of the materials that were deemed objectionable. Defendant
    9   admits that the investigation lasted from about July 2017 to November 2017 and
   10   that Plaintiff was interviewed as a witness in the investigation. Defendant denies
   11   that the investigation was of Nakajima and Gerwig’s racist and sexually harassing
   12   conduct.
   13          9.      In answering Paragraph 9 of the Complaint, Defendant admits the
   14   allegations contained in this paragraph.
   15          10.     In answering Paragraph 10 of the Complaint, Defendant admits that
   16   toward the end of November 2017, Dr. Lisa Norman was the Assistant
   17   Superintendent/ Vice President of Human Resources. Defendant admits that
   18   Plaintiff met with Dr. Lisa Norman toward the end of November 2017, that Plaintiff
   19   suggested to Norman that Nakajima and Gerwig be terminated, and that Norman
   20   indicated that the District would not terminate Nakajima and Gerwig. Defendant
   21   denies that Dr. Norman’s reason for denying Ms. Kailikole’s request was because
   22   the offense did not merit harming Nakajima and Gerwig’s careers and damaging
   23   their livelihood. Except as so admitted and denied, Defendant lacks sufficient
   24   knowledge or information to form a belief as to the truthfulness of the allegations
   25   contained in this paragraph, and on that basis denies each and every allegation.
   26          11.     In answering Paragraph 11 of the Complaint, Defendant admits
   27   Plaintiff met with Dr. Jack Kahn, however, Defendant denies that the meeting was
   28   on December 4, 2017. Except as so admitted and denied, Defendant lacks sufficient
                                               4
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2639 Page 5 of 43



    1   knowledge or information to form a belief as to the truthfulness of the allegations
    2   contained in this paragraph, and on that basis denies each and every allegation.
    3          12.     In answering Paragraph 12 of the Complaint, Defendant denies that its
    4   goal was not to protect students but rather to avoid the appearance of anything out
    5   of the ordinary involving Nakajima and Gerwig. Defendant denies that Nakajima
    6   and Gerwig were placed on one month of unpaid leave on December 12, 2017.
    7   Defendant further denies that it failed to take appropriate action against Nakajima
    8   and Gerwig. Except as so denied, Defendant lacks sufficient knowledge or
    9   information to form a belief as to the truthfulness of the allegations contained in
   10   this paragraph, and on that basis denies each and every allegation.
   11          13.     In answering Paragraph 13 of the Complaint, Defendant admits
   12   Plaintiff was placed on paid leave on December 14, 2017. Defendant denies that
   13   placing Plaintiff on leave was sudden and mysterious and that Dr. Kahn made a
   14   pledge to accommodate her medical condition. Defendant further denies that the
   15   decision to place Plaintiff on leave was made with two days of Nakajima and
   16   Gerwig being placed on leave and that it failed to take appropriate action against
   17   Nakajima and Gerwig. Except as so admitted and denied, Defendant lacks
   18   sufficient knowledge or information to form a belief as to the truthfulness of the
   19   allegations contained in this paragraph, and on that basis denies each and every
   20   allegation.
   21          14.     In answering Paragraph 14 of the Complaint, Defendant denies that
   22   after Plaintiff was placed on leave she was escorted off campus like a criminal.
   23   Defendant admits that Plaintiff was escorted off campus so that Shawna Cohen
   24   could collect her keys and parking car, lost access to her computer during the leave
   25   to protect the integrity of the investigation into her misconduct, relieved of her
   26   duties in overseeing her division during the investigation, and instructed not to
   27   speak to any employees or students at the District during the investigation.
   28   Defendant further admits that Plaintiff was placed on paid leave due to allegations
                                                 5
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2640 Page 6 of 43



    1   involving a breach of confidentiality. Except as so admitted and denied, Defendant
    2   lacks sufficient knowledge or information to form a belief as to the truthfulness of
    3   the allegations contained in this paragraph, and on that basis denies each and every
    4   allegation.
    5          15.     In answering Paragraph 15 of the Complaint, Defendant denies that
    6   Plaintiff was left on paid leave for 5 months without being informed of the specific
    7   nature of the charges against her. Defendant further denies that during said time
    8   period no mention was made to Plaintiff about job performance issues. Defendant
    9   admits Plaintiff was instructed not to communicate with District employees or
   10   students while she was under investigation and on paid leave. Except as so admitted
   11   and denied, Defendant lacks sufficient knowledge or information to form a belief
   12   as to the truthfulness of the allegations contained in this paragraph, and on that
   13   basis denies each and every allegation.
   14          16.     In answering Paragraph 16 of the Complaint, Defendant denies that it
   15   refused to provide Plaintiff and her counsel with substantive information regarding
   16   why she was placed on leave. Defendant denies that it told Ms. Kailikole that the
   17   investigation of her originated in the Physics and Engineering Department.
   18   Defendant admits that after she was placed on leave, Plaintiff informed the District
   19   that she believed the decision to place her on leave was in retaliation for reporting
   20   Nakajima and Gerwig’s misconduct. Except as so admitted and denied, Defendant
   21   lacks sufficient knowledge or information to form a belief as to the truthfulness of
   22   the allegations contained in this paragraph, and on that basis denies each and every
   23   allegation.
   24          17.     In answering Paragraph 17 of the Complaint, Defendant admits that
   25   on February 27, 2018 the District’s Governing Board voted not to renew Plaintiff’s
   26   employment contract. Defendant further admits that in line with the Education
   27   Code and the District’s Administrative Employee Handbook, the Governing Board
   28   exercised its discretion to non-renew Plaintiff’s contract without explanation.
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                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2641 Page 7 of 43



    1   Except as so admitted, Defendant lacks sufficient knowledge or information to
    2   form a belief as to the truthfulness of the allegations contained in this paragraph,
    3   and on that basis denies each and every allegation.
    4          18.     In answering Paragraph 18 of the Complaint, Defendant admits on
    5   February 28, 2018 Plaintiff was interviewed by the District’s investigator about,
    6   among other things, the incident where Nakajima and Gerwig used an airsoft gun
    7   in the classroom. Defendant admits that Plaintiff reported the incident to the
    8   campus police in April 2016, the campus police completed an investigation into the
    9   matter, and the campus police concluded that the gun should not have been used
   10   without prior approval by the police. Except as so admitted, Defendant lacks
   11   sufficient knowledge or information to form a belief as to the truthfulness of the
   12   allegations contained in this paragraph, and on that basis denies each and every
   13   allegation.
   14          19.     In answering Paragraph 19 of the Complaint, Defendant admits after
   15   Plaintiff came forward with a request to remove Nakajima and Gerwig from their
   16   classrooms for failure to follow directives, Dr. Norman advised Plaintiff that she
   17   or Dr. Finkenthal should observe Nakajima and Gerwig in their classrooms to
   18   determine if they were violating any rules. Defendant further admits that on
   19   December 8, 2017 Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft
   20   gun incident. Defendant denies that it had engaged in an effort to look for
   21   information to discredit Plaintiff. Except as so admitted and denied, Defendant
   22   lacks sufficient knowledge or information to form a belief as to the truthfulness of
   23   the allegations contained in this paragraph, and on that basis denies each and every
   24   allegation.
   25          20.     In answering Paragraph 20 of the Complaint, Defendant lacks
   26   sufficient knowledge or information to form a belief as to the truthfulness of the
   27   allegations contained in this paragraph, and on that basis denies each and every
   28   allegation.
                                                 7
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2642 Page 8 of 43



    1          21.     In answering Paragraph 21 of the Complaint, Defendant admits that
    2   its investigator asked Plaintiff whether she ever agreed with Dr. Finkenthal that he
    3   would provide information about the airsoft gun incident to any other person and
    4   that Plaintiff’s purported answer to this question was “no.” Defendant further
    5   admits that the investigator asked Plaintiff if Dr. Finkenthal ever indicated to her
    6   that he intended to provide information about the airsoft gun incident to his wife or
    7   members of the District’s Governing Board or “anything like that,” and that
    8   Plaintiff’s testimony and response to this question was “no.”
    9          22.     In answering Paragraph 22 of the Complaint, Defendant denies that
   10   while Plaintiff was on leave and the investigation into her misconduct was pending,
   11   faculty members were being told that she was not returning. Except as so denied,
   12   Defendant lacks sufficient knowledge or information to form a belief as to the
   13   truthfulness of the allegations contained in this paragraph, and on that basis denies
   14   each and every allegation.
   15          23.     In answering Paragraph 23 of the Complaint, Defendant denies it
   16   began telling faculty members that Plaintiff was not returning. Defendant admits
   17   that on May 4, 2018 it sent notice to Plaintiff that Dr. Kahn was recommending her
   18   termination.
   19          24.     In answering Paragraph 24 of the Complaint, Defendant admits that
   20   one of the reasons for Plaintiff’s termination was the investigator’s determination
   21   that she engaged in a conspiracy with Dr. Finkenthal to leak information to Dr.
   22   Finkenthal’s wife. Defendant also admits the investigator found that Plaintiff was
   23   not a credible witness and the investigator did not believe Plaintiff’s purported
   24   reason for forwarding the e-mails about the airsoft gun incident to Dr. Finkenthal.
   25   Defendant denies that the only evidence cited in support of the conspiracy was that
   26   three days after Plaintiff forwarded the e-mail about the airsoft gun incident to Dr.
   27   Finkenthal, he forwarded the e-mail to his wife. Defendant further denies that the
   28   charges against Plaintiff for engaging in a conspiracy to leak information were
                                                8
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2643 Page 9 of 43



    1   manufactured by the District because it lacked any legitimate reason to non-renew
    2   and terminate Plaintiff’s contract. Except as so admitted and denied, Defendant
    3   lacks sufficient knowledge or information to form a belief as to the truthfulness of
    4   the allegations contained in this paragraph, and on that basis denies each and every
    5   allegation.
    6          25.     In answering Paragraph 25 of the Complaint, Defendant admits that
    7   the Notice of Proposed Disciplinary Action mailed to Plaintiff on May 2, 2018
    8   contained a list of issues with Plaintiff’s performance. Defendant denies that none
    9   of the performance issues would constitute cause for termination. Defendant further
   10   denies that none of the performance issues were ever presented to Plaintiff as
   11   potential reasons for discipline or termination.
   12          26.     In answering Paragraph 26 of the Complaint, Defendant admits that
   13   an additional reason for Plaintiff’s proposed termination was that Plaintiff failed to
   14   appropriately monitor Nakajima and Gerwig. Defendant admits that Plaintiff
   15   reported and complained about Nakajima and Gerwig. Defendant denies that the
   16   reason was false and pretextual. Defendant denies that Plaintiff was the first dean
   17   to exercise supervision over Nakajima and Gerwig. Defendant further denies that
   18   it willfully failed to take action against Nakajima and Gerwig. Defendant denies
   19   that it was angry at Plaintiff for reporting Nakajima and Gerwig because the reports
   20   required the District to take action against tenured professors which risked raising
   21   suspicions and questions by students and faculty if they were terminated or placed
   22   on an extensive leave. Except as so admitted and denied, Defendant lacks sufficient
   23   knowledge or information to form a belief as to the truthfulness of the allegations
   24   contained in this paragraph, and on that basis denies each and every allegation.
   25          27.     In answering Paragraph 27 of the Complaint, Defendant admits that
   26   on June 13, 2018 the Governing Board voted to terminate Plaintiff’s employment.
   27          28.     In answering Paragraph 28 of the Complaint, Defendant denies that
   28   placing Plaintiff on leave, the non-renewal of her contract, and the termination of
                                                 9
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2644 Page 10 of 43



    1   her employment were done in retaliation against Plaintiff for complaining about
    2   Nakajima and Gerwig’s alleged racist and sexually harassing conduct. Defendant
    3   further denies that these actions were taken in retaliation for Plaintiff complaining
    4   about that the decision to place her on leave for reporting Nakajima and Gerwig
    5   was retaliator; to discriminate and retaliate against Plaintiff for requesting a
    6   disability accommodation; and to avoid accommodating the alleged disability she
    7   purports to have discussed with Dr. Kahn. Defendant denies that Plaintiff was
    8   mysteriously placed on leave and subjected to a bogus investigation. Defendant
    9   denies that Plaintiff was never given any indication that her job was in danger
   10   before the District investigated Nakajima and Gerwig or before Plaintiff requested
   11   an accommodation for her alleged disability. Defendant lack sufficient knowledge
   12   or information to form a belief as to whether Plaintiff suffered a disability, and on
   13   that basis denies that Plaintiff had a disability. Defendant denies that it avoided
   14   accommodating Plaintiff’s alleged disability. Defendant denies that Plaintiff
   15   received a stellar review and was told that she was an “incredibly valuable
   16   member” of the administration. Defendant admits that Plaintiff was given a
   17   promotion. Except as admitted and denied, Defendant lacks sufficient knowledge
   18   or information to form a belief as to the truthfulness of the allegations contained in
   19   this paragraph, and on that basis denies each and every allegation.
   20          29.     In answering Paragraph 29 of the Complaint, Defendant denies that it
   21   engaged in discriminatory and/or retaliatory conduct. Defendant denies that
   22   Plaintiff exhausted her administrative remedies with respect to her seventh cause
   23   of action under California Labor Code section 1102.5. Defendant lacks sufficient
   24   knowledge to form a belief as to the truthfulness of Plaintiff’s allegations that she
   25   exhausted her administrative remedies for her first through sixth causes of actions
   26   with the Department of Fair Employment and Housing, and on that basis denies
   27   that Plaintiff exhausted administrative remedies as to her first through sixth causes
   28   of action. In the remainder of this Paragraph, Plaintiff lists the statutes which she
                                                10
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2645 Page 11 of 43



    1   purports to bring her causes of action under and no response is necessary. To the
    2   extent a response is deemed required, Defendant admits that Plaintiff purports to
    3   bring this action for 1) retaliation in violation of 20 U.S.C. § 1681; 2) retaliation in
    4   violation of 42 U.S.C. § 2000d; 3) retaliation in violation of Government Code
    5   section 12940(h); 4) disability discrimination in violation of Government Code
    6   section 12940(a); 5) failure to accommodate disability in violation of Government
    7   Code section 12940(m); 6) failure to engage in the interactive process in violation
    8   of Government Code section 12940(n); and 7) retaliation in violation of Labor
    9   Code section 1102.5.
   10                                 Jurisdiction and Venue
   11          30.     In answering Paragraph 30 of the Complaint, this paragraph contains
   12   Plaintiffs’ jurisdictional allegations, to which no response is required. To the extent
   13   a response is deemed required, Defendant admits that it resides in California, has
   14   appeared in this action, and removed this action to this Court. Except as so
   15   admitted, Defendant lacks sufficient knowledge or information to form a belief as
   16   to the truthfulness of the allegations contained in this paragraph, and on that basis
   17   denies each and every allegation.
   18          31.     In answering Paragraph 31 of the Complaint, this paragraph contains
   19   Plaintiffs’ jurisdictional allegations, to which no response is required. To the extent
   20   a response is deemed required, Defendant admits that it resides in California.
   21   Except as so admitted, Defendant lacks sufficient knowledge or information to
   22   form a belief as to the truthfulness of the allegations contained in this paragraph,
   23   and on that basis denies each and every allegation.
   24                                        The Parties
   25          32.     In answering Paragraph 32 of the Complaint, this paragraph contains
   26   Plaintiffs’ jurisdictional allegations, to which no response is required. To the extent
   27   a response is deemed required, Defendant lacks sufficient knowledge or
   28   ///
                                                  11
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2646 Page 12 of 43



    1   information to form a belief as to the truthfulness of the allegations contained in
    2   this paragraph, and on that basis denies each and every allegation.
    3                  Factual Allegations Common to All Causes of Action
    4          A.      Plaintiff is Appointed as Interim Dean
    5          33.     In answering Paragraph 31 of the Complaint, this paragraph contains
    6   Plaintiffs’ jurisdictional allegations, to which no response is required. To the extent
    7   a response is deemed required, Defendant admits it is a public entity which operates
    8   in, and has its principal place of business in San Diego County.
    9          34.     In answering Paragraph 34 of the Complaint, Defendant lacks
   10   sufficient knowledge or information to form a belief as to the truthfulness of the
   11   allegations contained in this paragraph, and on that basis denies each and every
   12   allegation.
   13          35.     In answering Paragraph 35 of the Complaint, Defendant denies that
   14   Plaintiff was hired as interim Dean of the MNHS Department on or about January
   15   13, 2016. Defendant denies that Plaintiff was recommended for the position of
   16   Interim Dean of the MNHS Department by Sourbeer.
   17          36.     In answering Paragraph 36 of the Complaint, Defendant admits that
   18   the initial term of Plaintiff’s employment contract as Interim Dean was from
   19   January 10, 2016 through June 30, 2016. Defendant admits that Plaintiff’s contract
   20   as Interim Dean was amended and that the term was extended from July 1, 2016
   21   through June 30, 2017. Defendant denies that as of May 10, 2016 the District’s
   22   administration and Governing Board was plainly satisfied with Plaintiff’s
   23   performance. Except as so admitted and denied, Defendant lacks sufficient
   24   knowledge or information to form a belief as to the truthfulness of the allegations
   25   contained in this paragraph, and on that basis denies each and every allegation.
   26          37.     In answering Paragraph 37 of the Complaint, Defendant admits
   27   pursuant to Plaintiff’s contract, she could be terminated for a “material and
   28   substantial breach” of her Agreement and/ or for cause,” however, Defendant
                                            12
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2647 Page 13 of 43



    1   denies that these are the only reasons it could have terminated Plaintiff’s
    2   employment pursuant to her contract. Defendant admits that Cause is defined as
    3   “actions, omissions, or behaviors, which are detrimental to the operations of the
    4   District and/or its major instructional, student and administrative decisions, or
    5   which impair the District’s mission purpose or objectives… which includes, but is
    6   not limited to, unsatisfactory work performance, dishonesty, misconduct,
    7   unprofessional conduct, or insubordination.”
    8          B.      Plaintiff Reports Professors Nakajima and Gerwig to the Campus
    9   Police for Improperly Using an Airgun in the Classroom
   10          38.     In answering Paragraph 38 of the Complaint, Defendant admits that
   11   Plaintiff was appointed as Interim Dean. Except as so admitted, Defendant lacks
   12   sufficient knowledge or information to form a belief as to the truthfulness of the
   13   allegations contained in this paragraph, and on that basis denies each and every
   14   allegation.
   15          39.     In answering Paragraph 39 of the Complaint, Defendant admits two
   16   students reported that Nakajima used an airsoft gun in the classroom and that the
   17   students alleged that Nakajima stayed in the back of the room talking to other
   18   professors and students while the gun was being used. Except as so admitted,
   19   Defendant lacks sufficient knowledge or information to form a belief as to the
   20   truthfulness of the allegations contained in this paragraph, and on that basis denies
   21   each and every allegation.
   22          40.     In answering Paragraph 40 of the Complaint, Defendant admits the
   23   Campus Police are among those responsible for student safety issues. Except as so
   24   admitted, Defendant lacks sufficient knowledge or information to form a belief as
   25   to the truthfulness of the allegations contained in this paragraph, and on that basis
   26   denies each and every allegation.
   27   ///
   28   ///
                                                 13
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2648 Page 14 of 43



    1            41.   In answering Paragraph 41 of the Complaint, Defendant lacks
    2   sufficient knowledge or information to form a belief as to the truthfulness of the
    3   allegations contained in this paragraph, and on that basis denies each and every
    4   allegation.
    5            42.   In answering Paragraph 41 of the Complaint, Defendant admits the
    6   Campus Police conducted an investigation which included dispatching Officer
    7   So’Oto of the Palomar Community College Police Department to meet with
    8   Plaintiff and the two students. Except as so admitted, Defendant lacks sufficient
    9   knowledge or information to form a belief as to the truthfulness of the allegations
   10   contained in this paragraph, and on that basis denies each and every allegation.
   11            43.   In answering Paragraph 43 of the Complaint, Defendant admits that
   12   during the investigation Plaintiff provided Officer So’Oto with a copy of the
   13   District’s policy on the use of weapons in the classroom. Defendant admits the
   14   policy on weapons in the classroom requires such use to be approved by the Chief
   15   of Police. Defendant admits that the students e-mailed statements related to their
   16   allegations to Plaintiff and one student e-mailed a video to Plaintiff. Defendant
   17   admits Plaintiff provided the student’s statements and the video to Officer So’Oto.
   18            44.   In answering Paragraph 44 of the Complaint, Defendant lacks
   19   sufficient knowledge or information to form a belief as to the truthfulness of the
   20   allegations contained in this paragraph, and on that basis denies each and every
   21   allegation.
   22            45.   In answering Paragraph 45 of the Complaint, Defendant admits
   23   Officer So’Oto interviewed Nakajima as part of his investigation and that Nakajima
   24   told So’Oto that he had been using the airsoft gun as part of his curriculum for two
   25   years.
   26   ///
   27   ///
   28   ///
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2649 Page 15 of 43



    1          46.     In answering Paragraph 46 of the Complaint, Defendant lacks
    2   sufficient knowledge or information to form a belief as to the truthfulness of the
    3   allegations contained in this paragraph, and on that basis denies each and every
    4   allegation.
    5          47.     In answering Paragraph 47 of the Complaint, Defendant admits at the
    6   time of the gun incident Plaintiff had worked for the District for about three months.
    7   Except as so admitted, Defendant lacks sufficient knowledge or information to
    8   form a belief as to the truthfulness of the allegations contained in this paragraph,
    9   and on that basis denies each and every allegation.
   10          C.      The District Promotes Dr. Kailikole to Dean of the MNHS Division
   11          48.     In answering Paragraph 48 of the Complaint, Defendant admits that
   12   Sourbeer submitted a formal evaluation of Plaintiff’s performance as Interim Dean.
   13   Except as so admitted, Defendant lacks sufficient knowledge or information to
   14   form a belief as to the truthfulness of the allegations contained in this paragraph,
   15   and on that basis denies each and every allegation.
   16          49.     In answering Paragraph 49 of the Complaint Defendant admits that in
   17   Sourbeer’s subjective evaluation of Plaintiff’s performance as Interim Dean he
   18   stated Plaintiff “stepped into the MNHS Interim Dean position with confidence and
   19   passion.” Defendant admits the remainder of the allegations contained in this
   20   paragraph.
   21          50.     In answering Paragraph 50 of the Complaint, Defendant admits that
   22   allegations contained in this paragraph to the extent they represent Sourbeer’s
   23   subjective evaluation of Plaintiff’s performance as Interim Dean.
   24          51.     In answering Paragraph 51 of the Complaint, Defendant admits
   25   Sourbeer elected to retire rather than exercise his retreat rights, leaving the Dean of
   26   the MNHS Department vacant. Defendant admits that Plaintiff was promoted to
   27   Dean of the MNHS Department. Defendant admits Plaintiff was responsible for
   28   planning, organizing, administering, developing, and evaluating the instructional
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                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2650 Page 16 of 43



    1   programs, projects and activities of her division, among other things. Except as so
    2   admitted, Defendant lacks sufficient knowledge or information to form a belief as
    3   to the truthfulness of the allegations contained in this paragraph, and on that basis
    4   denies each and every allegation.
    5          52.     In answering Paragraph 52 of the Complaint, Defendant admits
    6   Plaintiff was hired as Dean of the MNHS Department pursuant to an employment
    7   contract with the District dated as effective April 11, 2017. Defendant admits the
    8   employment contract was executed by Plaintiff on May 9, 2017 and the term of the
    9   contract was from July 1, 2017 through June 20, 2019. Defendant denies that
   10   Plaintiff could only be terminated for “a material and substantiated breach of the
   11   agreement” and/or for “cause.”
   12          D.      Plaintiff Reports Racist and Sexually Harassing Conduct By
   13   Nakajima and Gerwig
   14          53.     In answering Paragraph 53 of the Complaint, Defendant admits that
   15   Plaintiff told Jack Kahn that she was experiencing work-related medical concerns.
   16   Except as so admitted, Defendant lacks sufficient knowledge or information to
   17   form a belief as to the truthfulness of the allegations contained in this paragraph,
   18   and on that basis denies each and every allegation.
   19          54.     In answering Paragraph 54 of the Complaint, Defendant admits that in
   20   May 2017 Dr. Finkenthal reported to Plaintiff that a student complained to him
   21   about various posters and other materials that were posted conspicuously on the
   22   walls and doors of rooms NS-249 and NS-252 in the Physics and Engineering
   23   Department. Defendant admits Dr. Finkenthal showed the materials to Plaintiff.
   24   Defendant admits NS-249 and NS-252 are rooms used by Nakajima and Gerwig.
   25          55.     In answering Paragraph 55 of the Complaint, Defendant admits the
   26   allegations contained in this paragraph.
   27          56.     In answering Paragraph 56 of the Complaint, Defendant lacks
   28   sufficient knowledge or information to form a belief as to the truthfulness of the
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2651 Page 17 of 43



    1   allegations contained in this paragraph, and on that basis denies each and every
    2   allegation.
    3          57.     In answering Paragraph 57 of the Complaint, Defendant admits
    4   Plaintiff was an academic dean and that she reported Nakajima and Gerwig to
    5   Shawna Cohen. Defendant admits that the Human Resources Department, Student
    6   Affairs Office and Equal Opportunity Compliance Office are among the
    7   departments and persons that are responsible for ensuring compliance with relevant
    8   anti-discrimination laws and regulations. Defendant denies that Plaintiff was not
    9   responsible for ensuring compliance with relevant anti-discrimination laws and
   10   regulations. Except as so admitted and denied, Defendant lacks sufficient
   11   knowledge or information to form a belief as to the truthfulness of the allegations
   12   contained in this paragraph, and on that basis denies each and every allegation.
   13          58.     In answering Paragraph 58 of the Complaint, Defendant admits that
   14   its Human Resources Department, Office of Student Affairs and Equal Opportunity
   15   and Compliance Office are among the offices and persons responsible for ensuring
   16   compliance with anti-discrimination laws. Defendant admits it denied Plaintiff’s
   17   request to place Nakajima and Gerwig on leave pending the investigation into the
   18   postings in rooms NS-249 and NS-252. Defendant admits that Plaintiff had no
   19   control over Title IX investigations or remedial actions. Except as so admitted,
   20   Defendant lacks sufficient knowledge or information to form a belief as to the
   21   truthfulness of the allegations contained in this paragraph, and on that basis denies
   22   each and every allegation.
   23          59.     In answering Paragraph 59 of the Complaint, Defendant admits that
   24   on June 28, 2017 Adrian Gonzalez, the Assistant Superintendent/Vice President,
   25   Student Services and the District’s Title IX Coordinator, notified Ms. Cohen that
   26   an investigation was required.
   27          60.     In answering Paragraph 60 of the Complaint, Defendant admits that
   28   Plaintiff requested Nakajima and Gerwig be placed on paid leave and removed
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2652 Page 18 of 43



    1   from the classroom while the District investigated the postings. Defendant admits
    2   it denied Plaintiff’s request. Defendant admits the administrators who reviewed the
    3   postings determined that they violated state and federal anti-discrimination
    4   regulations, including Title IX. Defendant denies that students were in imminent
    5   danger. Except as so admitted, Defendant lacks sufficient knowledge or
    6   information to form a belief as to the truthfulness of the allegations contained in
    7   this paragraph, and on that basis denies each and every allegation.
    8          61.     In answering Paragraph 61 of the Complaint, Defendant admits the
    9   investigation of Nakajima and Gerwig was conducted by outside attorney, Jeffrey
   10   Love. Defendant further admits that in conducting the investigation, Love
   11   interviewed Dr. Finkenthal, Plaintiff, Nakajima, Gerwig, Hector Garcia Villa,
   12   another Physics and Engineer professor, and Susan Snow, a professor in the
   13   Mathematics Department who was also Nakajima and Gerwig’s union
   14   representative.
   15          62.     In answering Paragraph 62 of the Complaint, Defendant admits that
   16   on November 1, 2017, Mr. Love issued a summary of his investigation. Defendant
   17   admits that in the report Mr. Love purported that Nakajima and Gerwig were not
   18   credible and their claimed unawareness of the postings was not credible. Defendant
   19   admits that in his report Mr. Love stated, “clearly they were aware of these
   20   materials, had either displayed the items themselves, or allowed and even
   21   encouraged others to do so.” Defendant admits Plaintiff was interviewed as a
   22   witness in the investigation. Defendant denies that Exhibit A attached to the
   23   Complaint is a true and correct copy of Mr. Love’s report. Defendant denies that in
   24   the report Mr. Love stated that “Nakajima and Gerwig demonstrated a general
   25   attitude of indifference to following the rules of the District concerning the
   26   avoidance of sexual harassment, discrimination, and maintaining a wholesome
   27   student academic environment.”
   28   ///
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                                               ANSWER TO FIRST AMENDED COMPLAINT
                                                      CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2653 Page 19 of 43



    1          63.     In answering Paragraph 63 of the Complaint, Defendant admits that
    2   according to Mr. Love’s subjective opinion, Plaintiff and Dr. Finkenthal were
    3   credible witnesses in the investigation of the postings in rooms NS-249 and NS-
    4   252, along with Hector Garcia Villa and Susan Snow.
    5          64.     In answering Paragraph 64 of the Complaint, Defendant admits that in
    6   2009 the United States Department of Education’s OCR Office investigated the
    7   Physics and Engineering Department. Defendant admits that during Dr.
    8   Finkenthal’s interview with Mr. Love, he told Mr. Love that “after the sensitivity
    9   training, also in 2009, Nakajima refused to accommodate a student who used a
   10   wheelchair and told the student that he should just take vitamins and ‘take care’ of
   11   himself.” Defendant denies that the OCR office found that Nakajima and Gerwig
   12   failed to accommodate a student with a disability. Except as so admitted and
   13   denied, Defendant lacks sufficient knowledge or information to form a belief as to
   14   the truthfulness of the allegations contained in this paragraph, and on that basis
   15   denies each and every allegation.
   16          65.     In answering Paragraph 65 of the Complaint, Defendant denies that
   17   Plaintiff met with Dr. Lisa Norman toward the end of November 2017, that Plaintiff
   18   suggested to Norman that Nakajima and Gerwig be terminated, and that Norman
   19   indicated that the District would not terminate Nakajima and Gerwig because the
   20   offense did not merit harming their careers and damaging their livelihood. Except
   21   as so admitted and denied, Defendant lacks sufficient knowledge or information to
   22   form a belief as to the truthfulness of the allegations contained in this paragraph,
   23   and on that basis denies each and every allegation.
   24          66.     In answering Paragraph 66 of the Complaint, Defendant admits that
   25   on November 27, 2018, Dr. Norman e-mailed Plaintiff. Defendant admits that Dr.
   26   Norman instructed Plaintiff to involve Dr. Finkenthal in the oversight of Nakajima
   27   and Gerwig and to have Dr. Finkenthal observe Nakajima and Gerwig so that he
   28   could substantiate any complaints. Defendant admits that Dr. Norman
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2654 Page 20 of 43



    1   recommended that either Plaintiff or Dr. Finkenthal observe Gerwig and Nakajima
    2   in the classroom first hand. Defendant denies that Dr. Norman “made it crystal clear
    3   that District would not place Nakajima and Gerwig on any type of leave, even paid
    4   leave, so as to avoid doing anything that may create liability and deviate from our
    5   goals and mission.”
    6          67.     In answering Paragraph 67 of the Complaint, Defendant admits that
    7   Dr. Norman requested Plaintiff and Dr. Finkenthal to handle overseeing Nakajima
    8   and Gerwig. Defendant denies that the Title IX office was afraid to fulfill its
    9   responsibilities by taking action to protect students from Nakajima and Gerwig.
   10   Defendant admits Plaintiff’s responsibilities among other things, were related to
   11   the instruction of students and administration of academic programs. Defendant
   12   denies that Plaintiff had no power or responsibility for ensuring that professors
   13   comply with anti-discrimination laws. Defendant denies that ensuring compliance
   14   with anti-discrimination laws is an express function of the Human Resources
   15   Office, Student Affairs Office EEO Office, and Title IX Office. Except as so
   16   admitted and denied, Defendant lacks sufficient knowledge or information to form
   17   a belief as to the truthfulness of the allegations contained in this paragraph, and on
   18   that basis denies each and every allegation.
   19          68.     In answering Paragraph 68 of the Complaint, Defendant admits
   20   Plaintiff met with Dr. Jack Kahn, however, Defendant denies that the meeting took
   21   place on December 4, 2017. Defendant denies that Dr. Kahn did not indicate that
   22   she had done anything to place her job in danger. Except as so admitted and denied,
   23   Defendant lacks sufficient knowledge or information to form a belief as to the
   24   truthfulness of the allegations contained in this paragraph, and on that basis denies
   25   each and every allegation.
   26          69.     In answering Paragraph 69 of the Complaint, Defendant admits
   27   Nakajima and Gerwig were place on unpaid leave for a month. Defendant admits
   28   that the District Investigator found that Nakajima and Gerwig engaged in or
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2655 Page 21 of 43



    1   allowed discriminatory conduct and lied about their engagement in said conduct.
    2   Defendant denies that Nakajima and Gerwig had a history of discriminatory
    3   conduct. Defendant denies that Nakajima and Gerwig’s punishment was grossly
    4   inadequate. Defendant further denies that it engaged in a pattern and practice of
    5   covering up misconduct by Nakajima and Gerwig. Defendant denies that it knew
    6   Nakajima’s Gerwig’s presence in the classroom subjected students, student
    7   assistants and faculty to discriminatory and harassing conduct.
    8          E.      The District Takes Adverse Employment Actions Against Plaintiff
    9   in Retaliation for Reporting Harassment and Discrimination and for
   10   Requesting an Accommodation for Her Disability
   11          70.     In answering Paragraph 70 of the Complaint, Defendant admits
   12   Plaintiff was placed on paid leave on December 14, 2017. Defendant denies that
   13   Nakajima and Gerwig were essentially excused from punishment. Defendant
   14   denies that Plaintiff disclosed her disability. Moreover, Defendant lacks sufficient
   15   knowledge or information to form a belief as to whether Plaintiff suffered a
   16   disability, and on that basis denies that Plaintiff had a disability. Defendant denies
   17   that it avoided accommodating Plaintiff’s alleged disability. Defendant denies that
   18   Plaintiff was not given any specific reason for being placed on leave. Defendant
   19   denies that after Plaintiff was placed on leave she was escorted off campus like a
   20   criminal. Defendant admits that Plaintiff was escorted off campus so that Shawna
   21   Cohen could collect her keys and parking car, lost access to her computer during
   22   the leave to protect the integrity of the investigation into her misconduct, relieved
   23   of her duties in overseeing her division during the investigation, and instructed not
   24   to speak to any employees or students at the District during the investigation.
   25   Defendant admits Plaintiff was told that she was being investigated for a breach of
   26   confidential information. Defendant denies that Plaintiff was completely cut-off
   27   from the College after she was placed on leave. Except as so admitted and denied,
   28   Defendant lacks sufficient knowledge or information to form a belief as to the
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2656 Page 22 of 43



    1   truthfulness of the allegations contained in this paragraph, and on that basis denies
    2   each and every allegation.
    3          71.     In answering Paragraph 71 of the Complaint, Defendant admits that
    4   Plaintiff was instructed not to contact District students or employees during the
    5   investigation into her misconduct. Defendant denies that Plaintiff was left on paid
    6   leave for 5 months without being informed of the specific nature of the charges
    7   against her. Defendant further denies that during said time period faculty members
    8   were falsely told that Plaintiff was on medical leave. Except as so admitted and
    9   denied, Defendant lacks sufficient knowledge or information to form a belief as to
   10   the truthfulness of the allegations contained in this paragraph, and on that basis
   11   denies each and every allegation.
   12          72.     In answering Paragraph 72 of the Complaint, Defendant denies that it
   13   refused to provide Plaintiff and her counsel with substantive information regarding
   14   why she was placed on leave. Defendant denies that it told Ms. Kailikole that the
   15   investigation of her originated in the Physics and Engineering Department.
   16   Defendant admits that after she was placed on leave, Plaintiff informed the District
   17   that she believed the decision to place her on leave was in retaliation for reporting
   18   Nakajima and Gerwig’s misconduct. Except as so admitted and denied, Defendant
   19   lacks sufficient knowledge or information to form a belief as to the truthfulness of
   20   the allegations contained in this paragraph, and on that basis denies each and every
   21   allegation.
   22          73.     In answering Paragraph 73 of the Complaint, Defendant admits that
   23   on February 27, 2018 the District’s Governing Board voted not to renew Plaintiff’s
   24   employment contract. Defendant further admits that in line with the Education
   25   Code and the District’s Administrative Employee Handbook, the Governing Board
   26   exercised its discretion to non-renew Plaintiff’s contract without explanation.
   27          74.     In answering Paragraph 74 of the Complaint, Defendant admits on
   28   February 28, 2018 Plaintiff was interviewed by the District’s investigator about,
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2657 Page 23 of 43



    1   among other things, the incident where Nakajima and Gerwig used an airsoft gun
    2   in the classroom. Defendant admits that on February 27, 2018 the District’s
    3   Governing Board voted not to renew Plaintiff’s employment contract. Defendant
    4   further admits, consistent with the terms of Plaintiff’s existing employment
    5   contract, Plaintiff was not provided with a reason for the decision not to renew her
    6   contract. Except as so admitted, Defendant lacks sufficient knowledge or
    7   information to form a belief as to the truthfulness of the allegations contained in
    8   this paragraph, and on that basis denies each and every allegation.
    9          75.     In answering Paragraph 75 of the Complaint, Defendant admits that
   10   Plaintiff’s testimony to the Investigator was that Dr. Lisa Norman had asked about
   11   the airsoft gun incident during the investigation of the posting in NS-249 and NS-
   12   252. Defendant admits that Plaintiff’s testimony to the investigator was that she
   13   contacted Dr. Finkenthal with information about the airsoft gun incident to make
   14   sure it was not being used any more. Defendant admits that Plaintiff’s testimony to
   15   the investigator was that Dr. Finkenthal said he did not think a gun was being used
   16   and Dr. Finkenthal requested further information so he could check on it. Defendant
   17   admits Plaintiff forwarded Dr. Finkenthal an e-mail about the airsoft gun on
   18   December 8, 201. Defendant denies that Dr. Norman reviewed this email without
   19   Plaintiff’s consent and as part of the District’s effort to look for information to
   20   discredit Dr. Kailikole.
   21          76.     In answering Paragraph 76 of the Complaint, Defendant admits that
   22   Dr. Norman recommended that either Plaintiff or Dr. Finkenthal should observe
   23   Nakajima and Gerwig in the classroom to try to substantiate some of the student
   24   complaints. Except as so admitted, Defendant lacks sufficient knowledge or
   25   information to form a belief as to the truthfulness of the allegations contained in
   26   this paragraph, and on that basis denies each and every allegation.
   27          77.     In answering Paragraph 77 of the Complaint, Defendant admits that
   28   its investigator asked Plaintiff whether she ever agreed with Dr. Finkenthal that he
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                                               ANSWER TO FIRST AMENDED COMPLAINT
                                                      CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2658 Page 24 of 43



    1   would provide information about the airsoft gun incident to any other person and
    2   that Plaintiff’s purported answer to this question was “no.” Defendant further
    3   admits that the investigator asked Plaintiff if Dr. Finkenthal ever indicated to her
    4   that he intended to provide information about the airsoft gun incident to his wife or
    5   members of the District’s Governing Board or “anything like that,” and that
    6   Plaintiff’s testimony and response to this question was “no.”
    7          78.     In answering Paragraph 78 of the Complaint, Defendant denies that it
    8   had already decided to terminate Plaintiff’s employment by March 4, 2018 and was
    9   just using the investigator to manufacture a purported reason. Except as so denied,
   10   Defendant lacks sufficient knowledge or information to form a belief as to the
   11   truthfulness of the allegations contained in this paragraph, and on that basis denies
   12   each and every allegation.
   13          79.     In answering Paragraph 79 of the Complaint, Defendant admits that
   14   on May 2, 2018 Plaintiff received a letter informing her that Dr. Kahn was
   15   recommending her termination. Defendant denies that it began telling faculty
   16   members that Plaintiff was not returning, prior to the Govern Board voting to
   17   terminate her employment.
   18          80.     In answering Paragraph 80 of the Complaint, Defendant admits that
   19   one of the reasons for Plaintiff’s termination was the investigator’s determination
   20   that she engaged in a conspiracy with Dr. Finkenthal to leak information to Dr.
   21   Finkenthal’s wife. Defendant also admits the investigator found that Plaintiff was
   22   not a credible witness and the investigator did not believe Plaintiff’s purported
   23   reason for forwarding the e-mails about the airsoft gun incident to Dr. Finkenthal.
   24   Defendant denies that the only evidence cited in support of the conspiracy was that
   25   three days after Plaintiff forwarded the e-mail about the airsoft gun incident to Dr.
   26   Finkenthal, he forwarded the e-mail to his wife. Defendant further denies that the
   27   charges against Plaintiff for engaging in a conspiracy to leak information were
   28   manufactured to cover up discriminatory and retaliatory reasons for Plaintiff’s
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2659 Page 25 of 43



    1   termination. Except as so admitted and denied, Defendant lacks sufficient
    2   knowledge or information to form a belief as to the truthfulness of the allegations
    3   contained in this paragraph, and on that basis denies each and every allegation.
    4          81.     In answering Paragraph 81 of the Complaint, Defendant admits that
    5   the investigator’s report did not list a specific person who made a complaint about
    6   Plaintiff. Defendant admits that the complaint was internally generated at the
    7   direction of Human Resources. Defendant admits that the investigator interviewed
    8   two witnesses, which included Plaintiff and Dr. Finkenthal. Defendant admits the
    9   investigator did not interview anyone in the Human Resources Department.
   10   Defendant denies that the investigator did not collect or review any documents
   11   related to the origins of the investigation. Except as so admitted and denied,
   12   Defendant lacks sufficient knowledge or information to form a belief as to the
   13   truthfulness of the allegations contained in this paragraph, and on that basis denies
   14   each and every allegation.
   15          82.     In answering Paragraph 82 of the Complaint, Defendant admits that
   16   the Notice of Proposed Disciplinary Action mailed to Plaintiff on May 2, 2018
   17   contained a list of issues with Plaintiff’s performance. Defendant denies that the
   18   performance issues were never presented to Plaintiff as potential reasons for
   19   discipline or termination. Except as so admitted and denied, Defendant lacks
   20   sufficient knowledge or information to form a belief as to the truthfulness of the
   21   allegations contained in this paragraph, and on that basis denies each and every
   22   allegation.
   23          83.     In answering Paragraph 83 of the Complaint, Defendant admits that
   24   an additional reason for Plaintiff’s proposed termination was that Plaintiff failed to
   25   appropriately monitor Nakajima and Gerwig. Defendant denies that the reason was
   26   false and pretextual. Defendant denies that Plaintiff was the first dean to exercise
   27   supervision over Nakajima and Gerwig. Defendant further denies that it willfully
   28   failed to take action against Nakajima and Gerwig. Defendant denies that it was
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2660 Page 26 of 43



    1   angered and embarrassed by Plaintiff’s reporting of and testimony about, harassing
    2   conduct by Nakajima and Gerwig because it required the District to take action
    3   against tenured professors which risked raising suspicions and questions by
    4   students and faculty if they were terminated or placed on an extensive leave.
    5   Defendant denies that it wanted to punish Plaintiff for suggesting that the
    6   investigation of her was pretextual and was carried out to provide false support for
    7   the District’s actions. Except as so admitted and denied, Defendant lacks sufficient
    8   knowledge or information to form a belief as to the truthfulness of the allegations
    9   contained in this paragraph, and on that basis denies each and every allegation.
   10          84.     In answering Paragraph 84 of the Complaint, Defendant admits that
   11   on June 13, 2018 the Governing Board voted to terminate Plaintiff’s employment.
   12          85.     In answering Paragraph 85 of the Complaint, Defendant denies that
   13   decisions to place Plaintiff on leave, non-renew her contract and terminate her were
   14   made to retaliate against her for complaining about Nakajima and Gerwig.
   15   Defendant denies that it “swept Nakajima and Gerwig’s conduct under the rug.”
   16   Defendant denies that it issued a disproportionately light penalty to Nakajima and
   17   Gerwig. Defendant denies that it retaliated against Plaintiff for reporting that the
   18   investigation of the confidentiality issue was pretextual and done in retaliation for
   19   reporting Nakajima and Gerwig. Defendant denies that it retaliated and
   20   discriminated against Plaintiff for, and to avoid accommodating Plaintiff’s mental
   21   health disability. Defendant lack sufficient knowledge or information to form a
   22   belief as to whether Plaintiff suffered a disability, and on that basis denies that
   23   Plaintiff had a disability. Defendant denies that it avoided accommodating
   24   Plaintiff’s alleged disability. Defendant denies that Plaintiff was never given any
   25   indication that her job was in danger. Except as so denied, Defendant lacks
   26   sufficient knowledge or information to form a belief as to the truthfulness of the
   27   allegations contained in this paragraph, and on that basis denies each and every
   28   allegation.
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2661 Page 27 of 43



    1          86.     In answering Paragraph 86 of the Complaint, Defendant denies that
    2   Plaintiff was harmed in any way and that Plaintiff is entitled to any relief
    3   whatsoever. Except as so denied, Defendant lacks sufficient knowledge or
    4   information to form a belief as to the truthfulness of the allegations contained in
    5   this paragraph, and on that basis denies each and every allegation.
    6                                        COUNT I
    7                        Retaliation in Violation of 20 U.S.C. 1681
    8                          (Against the District and DOES 1-20)
    9          87.     In answering Paragraph 87 of the Complaint, Defendant specifically
   10   incorporates by reference its answers to each of the foregoing paragraphs of
   11   Plaintiffs’ Complaint as though fully set forth herein.
   12          88.     In answering Paragraph 88 of the Complaint, this paragraph contains
   13   Plaintiff’s allegations paraphrasing the statutory language of 20 U.S.C. section
   14   1681, to which no response is required. To the extent a response is deemed
   15   required, Defendant admits that it is an educational program and that it receives
   16   federal financial assistance. Except as so admitted, Defendant lacks sufficient
   17   knowledge or information to form a belief as to the truthfulness of the allegations
   18   contained in this paragraph, and on that basis denies each and every allegation,
   19   except to refer to the language of the referenced statute, which speaks for itself.
   20          89.     In answering Paragraph 89 of the Complaint, this paragraph contains
   21   paraphrasing of the statutory language of 20 U.S.C. section 6181(a) and case law,
   22   to which no response is required. To the extent a response is deemed required,
   23   Defendant denies that it violated any laws, including 20 U.S.C. section 1681 and
   24   that Plaintiff was harmed in any way. Except as so admitted, Defendant lacks
   25   sufficient knowledge or information to form a belief as to the truthfulness of the
   26   allegations contained in this paragraph, and on that basis denies each and every
   27   allegation, except to refer to the language of the referenced statute, which speaks
   28   for itself.
                                                 27
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2662 Page 28 of 43



    1          90.     In answering Paragraph 90 of the Complaint, Defendant denies that
    2   Plaintiff engaged in protected activity under Title IX.
    3          91.     In answering Paragraph 91 of the Complaint, Defendant denies that
    4   Plaintiff engaged in protected activity under Title IX and that it engaged in adverse
    5   employment actions against Plaintiff as a result of her reports relating to Nakajima
    6   and Gerwig.
    7          92.     In answering Paragraph 92 of the Complaint, Defendant denies that
    8   Plaintiff engaged in protected activity under Title IX and that the adverse
    9   employment action taken against Plaintiff was connected to Plaintiff’s reports
   10   regarding Nakajima and Gerwig in any way whatsoever.
   11          93.     In answering Paragraph 93 of the Complaint, Defendant denies that it
   12   violated Title IX or that Plaintiff was harmed in any way. Defendant denies that
   13   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   14   Plaintiff is entitled to any relief whatsoever.
   15          94.     In answering Paragraph 94 of the Complaint, Defendant denies that it
   16   took any actions with malice, oppression, fraud, conscious disregard for Plaintiff’s
   17   rights, or the malicious intent of injuring Plaintiff. Defendant denies that Plaintiff
   18   was harmed in any way, any damages are owed to Plaintiff, and that Plaintiff is
   19   entitled to any relief whatsoever.
   20          95.     In answering Paragraph 95 of the Complaint, Defendant denies that it
   21   violated any laws, including 20 U.S.C. section 1681. Defendant further denies that
   22   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   23   Plaintiff is entitled to any relief whatsoever, including attorney’s fees and/or costs.
   24   ///
   25   ///
   26   ///
   27   ///
   28   ///
                                                  28
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2663 Page 29 of 43



    1                                          COUNT II
    2                       Retaliation in Violation of 42 U.S.C. 2000d et seq.
    3                             (Against the District and DOES 1-20)
    4          96.     In answering Paragraph 96 of the Complaint, Defendant specifically
    5   incorporates by reference its answers to each of the foregoing paragraphs of
    6   Plaintiffs’ Complaint as though fully set forth herein.
    7          97.     In answering Paragraph 97 of the Complaint, this paragraph contains
    8   Plaintiff’s allegations paraphrasing the statutory language of Title VI of the Civil
    9   Rights Act of 1964 (42 U.S.C. 2000d et seq.), to which no response is required. To
   10   the extent a response is deemed required, Defendant admits that it receives federal
   11   financial assistance. Except as so admitted, Defendant lacks sufficient knowledge
   12   or information to form a belief as to the truthfulness of the allegations contained in
   13   this paragraph, and on that basis denies each and every allegation, except to refer
   14   to the language of the referenced statute, which speaks for itself.
   15          98.     In answering Paragraph 98 of the Complaint, Defendant denies that
   16   Plaintiff engaged in protected activity under Title VI.
   17          99.     In answering Paragraph 99 of the Complaint, Defendant denies that
   18   Plaintiff engaged in protected activity under Title VI and that it engaged in adverse
   19   employment actions against Plaintiff as a result of her reports relating to Nakajima
   20   and Gerwig.
   21          100. In answering Paragraph 100 of the Complaint, Defendant denies that
   22   Plaintiff engaged in protected activity under Title VI and that the adverse
   23   employment action taken against Plaintiff was connected to Plaintiff’s reports
   24   regarding Nakajima and Gerwig in any way whatsoever.
   25          101. In answering Paragraph 101 of the Complaint, Defendant denies that
   26   it violated Title VI or that Plaintiff was harmed in any way. Defendant denies that
   27   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   28   Plaintiff is entitled to any relief whatsoever.
                                                   29
                                                   ANSWER TO FIRST AMENDED COMPLAINT
                                                          CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2664 Page 30 of 43



    1          102. In answering Paragraph 102 of the Complaint, Defendant denies that
    2   it took any actions with malice, oppression, fraud, conscious disregard for
    3   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
    4   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
    5   Plaintiff is entitled to any relief whatsoever.
    6          103. In answering Paragraph 103 of the Complaint, Defendant denies that
    7   it took any actions with malice, oppression, fraud, conscious disregard for
    8   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
    9   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   10   Plaintiff is entitled to any relief whatsoever.
   11          104. In answering Paragraph 104 of the Complaint, Defendant denies that
   12   it violated any laws, including 42 U.S.C. 2000d Defendant further denies that
   13   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   14   Plaintiff is entitled to any relief whatsoever, including attorney’s fees and/or costs.
   15                                        COUNT III
   16                Retaliation in Violation of Government Code § 12940(h)
   17                         (Against the District and DOES 1-20)
   18          105. In answering Paragraph 105 of the Complaint, Defendant specifically
   19   incorporates by reference its answers to each of the foregoing paragraphs of
   20   Plaintiffs’ Complaint as though fully set forth herein.
   21          106. In answering Paragraph 106 of the Complaint, this paragraph contains
   22   Plaintiff’s allegations paraphrasing the statutory language of Government Code
   23   section 12940(h), to which no response is required. To the extent a response is
   24   deemed required, Defendant admits Plaintiff purports to plead a cause of action
   25   under Government Code section 12940 (h). Except as admitted, Defendant lacks
   26   sufficient knowledge or information to form a belief as to the truthfulness of the
   27   allegations contained in this paragraph, and on that basis denies each and every
   28   ///
                                                  30
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2665 Page 31 of 43



    1   allegation, except to refer to the language of the referenced statute, which speaks
    2   for itself.
    3          107. In answering Paragraph 107 of the Complaint, Defendant denies that
    4   it retaliated against Plaintiff. Except as so denied, Defendant lacks sufficient
    5   knowledge or information to form a belief as to the truthfulness of the allegations
    6   contained in this paragraph, and on that basis denies each and every allegation,
    7   except to refer to the language of the referenced statute, which speaks for itself.
    8          108. In answering Paragraph 108 of the Complaint, Defendant denies that
    9   it violated any laws, including Government Code section 12940 (h). Defendant
   10   further denies that Plaintiff was harmed in any way, any damages are owed to
   11   Plaintiff, and that Plaintiff is entitled to any relief whatsoever.
   12          109. In answering Paragraph 109 of the Complaint, Defendant denies that
   13   it took any actions with malice, oppression, fraud, conscious disregard for
   14   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
   15   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   16   Plaintiff is entitled to any relief whatsoever.
   17          110. In answering Paragraph 110 of the Complaint, Defendant denies that
   18   it violated any laws, including Government Code section 12940 (h). Defendant
   19   further denies that Plaintiff was harmed in any way, any damages are owed to
   20   Plaintiff, and that Plaintiff is entitled to any relief whatsoever, including attorney’s
   21   fees and/or costs.
   22                                        COUNT IV
   23   Disability Discrimination in Violation of Government Code section 12940(a)
   24                         (Against the District and DOES 1-20)
   25          111. In answering Paragraph 111 of the Complaint, Defendant specifically
   26   incorporates by reference its answers to each of the foregoing paragraphs of
   27   Plaintiffs’ Complaint as though fully set forth herein.
   28   ///
                                                   31
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2666 Page 32 of 43



    1          112. In answering Paragraph 112 of the Complaint, this paragraph contains
    2   Plaintiff’s allegations paraphrasing the statutory language of Government Code
    3   section 12940(a), to which no response is required. To the extent a response is
    4   deemed required, Defendant admits Plaintiff purports to plead a cause of action
    5   under Government Code section 12940 (a). Except as admitted, Defendant lacks
    6   sufficient knowledge or information to form a belief as to the truthfulness of the
    7   allegations contained in this paragraph, and on that basis denies each and every
    8   allegation, except to refer to the language of the referenced statute, which speaks
    9   for itself.
   10          113. In answering Paragraph 113 of the Complaint, Defendant denies that
   11   it knew Plaintiff was disabled, that Plaintiff told Dr. Kahn that she suffered from
   12   anxiety, and that Dr. Kahn pledged to support Plaintiff with her anxiety. Except as
   13   so denied, Defendant lacks sufficient knowledge or information to form a belief as
   14   to the truthfulness of the allegations contained in this paragraph, and on that basis
   15   denies each and every allegation.
   16          114. In answering Paragraph 114 of the Complaint, Defendant denies that
   17   it violated any laws, including the FEHA. Defendant further denies that Plaintiff
   18   was harmed in any way, any damages are owed to Plaintiff, and that Plaintiff is
   19   entitled to any relief whatsoever.
   20          115. In answering Paragraph 115 of the Complaint, Defendant denies that
   21   it violated any laws, including the FEHA. Defendant further denies that the
   22   Governing Board relied on any impermissible criteria in voting to place Plaintiff
   23   on leave, non-renewing her contract, and terminating her employment. Except as
   24   so denied, Defendant lacks sufficient knowledge or information to form a belief as
   25   to the truthfulness of the allegations contained in this paragraph, and on that basis
   26   denies each and every allegation
   27          116. In answering Paragraph 116 of the Complaint, Defendant denies that
   28   it violated any laws, including the FEHA. Defendant further denies that Plaintiff
                                               32
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2667 Page 33 of 43



    1   was harmed in any way, any damages are owed to Plaintiff, and that Plaintiff is
    2   entitled to any relief whatsoever.
    3          117. In answering Paragraph 117 of the Complaint, Defendant denies that
    4   it took any actions with malice, oppression, fraud, conscious disregard for
    5   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
    6   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
    7   Plaintiff is entitled to any relief whatsoever.
    8          118. In answering Paragraph 118 of the Complaint, Defendant denies that
    9   it violated any laws, including Government Code section 12940 (a). Defendant
   10   further denies that Plaintiff was harmed in any way, any damages are owed to
   11   Plaintiff, and that Plaintiff is entitled to any relief whatsoever, including attorney’s
   12   fees and/or costs.
   13                                         COUNT V
   14          Failure to Accommodate Disability and Retaliation in Violation of
   15                                Government Code § 12940(m)
   16                             (Against the District and DOES 1-20)
   17          119. In answering Paragraph 119 of the Complaint, Defendant specifically
   18   incorporates by reference its answers to each of the foregoing paragraphs of
   19   Plaintiffs’ Complaint as though fully set forth herein.
   20          120.         In answering Paragraph 120 of the Complaint, this paragraph
   21   contains Plaintiff’s allegations paraphrasing the statutory language of Government
   22   Code section 12940(m), to which no response is required. To the extent a response
   23   is deemed required, Defendant admits Plaintiff purports to plead a cause of action
   24   under Government Code section 12940 (m). Except as admitted, Defendant lacks
   25   sufficient knowledge or information to form a belief as to the truthfulness of the
   26   allegations contained in this paragraph, and on that basis denies each and every
   27   allegation, except to refer to the language of the referenced statute, which speaks
   28   for itself.
                                                  33
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2668 Page 34 of 43



    1          121. In answering Paragraph 121 of the Complaint, Defendant denies that
    2   it violated any law, including failing to make a reasonable accommodation for
    3   Plaintiff and retaliating or discriminating against Plaintiff for requesting an
    4   accommodation. Defendant further denies that it knew Plaintiff had a disability and
    5   lacks sufficient knowledge or information to form a belief as to the truthfulness of
    6   Plaintiff’s allegation that she has a disability, and on that basis denies that Plaintiff
    7   had a disability. Except as so denied, Defendant lacks sufficient knowledge or
    8   information to form a belief as to the truthfulness of the allegations contained in
    9   this paragraph, and on that basis denies each and every allegation.
   10          122. In answering Paragraph 122 of the Complaint, Defendant denies that
   11   it violated any laws, including the FEHA. Defendant further denies that Plaintiff
   12   was harmed in any way, any damages are owed to Plaintiff, and that Plaintiff is
   13   entitled to any relief whatsoever.
   14          123. In answering Paragraph 123 of the Complaint, Defendant denies that
   15   it took any actions with malice, oppression, fraud, conscious disregard for
   16   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
   17   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   18   Plaintiff is entitled to any relief whatsoever.
   19          124. In answering Paragraph 124 of the Complaint, Defendant denies that
   20   it violated any laws, including Government Code section 12940 (m). Defendant
   21   further denies that Plaintiff was harmed in any way, any damages are owed to
   22   Plaintiff, and that Plaintiff is entitled to any relief whatsoever, including attorney’s
   23   fees and/or costs.
   24   ///
   25   ///
   26   ///
   27   ///
   28   ///
                                                   34
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2669 Page 35 of 43



    1                                         COUNT VI
    2      Failure to Engage in the Interactive Process in Violation of Government
    3                                    Code section 12490(n)
    4                             (Against the District and DOES 1-20)
    5          125. In answering Paragraph 125 of the Complaint, Defendant specifically
    6   incorporates by reference its answers to each of the foregoing paragraphs of
    7   Plaintiffs’ Complaint as though fully set forth herein.
    8          126.         In answering Paragraph 126 of the Complaint, this paragraph
    9   contains Plaintiff’s allegations paraphrasing the statutory language of Government
   10   Code section 12940(n), to which no response is required. To the extent a response
   11   is deemed required, Defendant admits Plaintiff purports to plead a cause of action
   12   under Government Code section 12940 (n). Except as admitted, Defendant lacks
   13   sufficient knowledge or information to form a belief as to the truthfulness of the
   14   allegations contained in this paragraph, and on that basis denies each and every
   15   allegation, except to refer to the language of the referenced statute, which speaks
   16   for itself.
   17          127. In answering Paragraph 127 of the Complaint, Defendant denies that
   18   it violated any laws, including failing to engage in the interactive process with
   19   Plaintiff. Defendant lacks sufficient knowledge or information to form a belief as
   20   to the truthfulness of whether Plaintiff suffered a disability, and on that basis denies
   21   that Plaintiff had a disability. Except as so denied, Defendant lacks sufficient
   22   knowledge or information to form a belief as to the truthfulness of the allegations
   23   contained in this paragraph, and on that basis denies each and every allegation.
   24          128. In answering Paragraph 128 of the Complaint, Defendant denies that
   25   it violated any laws, including the FEHA. Defendant further denies that Plaintiff
   26   was harmed in any way, any damages are owed to Plaintiff, and that Plaintiff is
   27   entitled to any relief whatsoever.
   28   ///
                                                  35
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2670 Page 36 of 43



    1          129. In answering Paragraph 129 of the Complaint, Defendant denies that
    2   it took any actions with malice, oppression, fraud, conscious disregard for
    3   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
    4   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
    5   Plaintiff is entitled to any relief whatsoever.
    6          130. In answering Paragraph 130 of the Complaint, Defendant denies that
    7   it violated any laws, including Government Code section 12940 (n). Defendant
    8   further denies that Plaintiff was harmed in any way, any damages are owed to
    9   Plaintiff, and that Plaintiff is entitled to any relief whatsoever, including attorney’s
   10   fees and/or costs.
   11                                        COUNT VII
   12                       Retaliation in Violation of Labor Code § 1102.5
   13                           (Against the District and DOES 1-20)
   14          131. In answering Paragraph 131 of the Complaint, Defendant specifically
   15   incorporates by reference its answers to each of the foregoing paragraphs of
   16   Plaintiffs’ Complaint as though fully set forth herein.
   17          132. In answering Paragraph 132 of the Complaint, this paragraph contains
   18   Plaintiff’s allegations paraphrasing the statutory language of Title IX and case law,
   19   to which no response is required. To the extent a response is deemed required,
   20   Defendant admits Plaintiff purports to plead a cause of action under California
   21   Labor Code section 1102.5. Except as admitted, Defendant lacks sufficient
   22   knowledge or information to form a belief as to the truthfulness of the allegations
   23   contained in this paragraph, and on that basis denies each and every allegation,
   24   except to refer to the language of the referenced statute, which speaks for itself.
   25          133. In answering Paragraph 133 of the Complaint, this paragraph contains
   26   Plaintiff’s allegations paraphrasing the statutory language of Title VI, to which no
   27   response is required. To the extent a response is deemed required, Defendant
   28   admits Plaintiff purports to plead a cause of action under California Labor Code
                                                36
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2671 Page 37 of 43



    1   section 1102.5. Except as admitted, Defendant lacks sufficient knowledge or
    2   information to form a belief as to the truthfulness of the allegations contained in
    3   this paragraph, and on that basis denies each and every allegation, except to refer
    4   to the language of the referenced statute, which speaks for itself.
    5          134. In answering Paragraph 134 of the Complaint, this paragraph contains
    6   Plaintiff’s allegations paraphrasing the statutory language of Government Code
    7   sections 12940(h) and 12940(m), to which no response is required. To the extent
    8   a response is deemed required, Defendant admits Plaintiff purports to plead a cause
    9   of action under California Labor Code section 1102.5. Except as admitted,
   10   Defendant lacks sufficient knowledge or information to form a belief as to the
   11   truthfulness of the allegations contained in this paragraph, and on that basis denies
   12   each and every allegation, except to refer to the language of the referenced statute,
   13   which speaks for itself.
   14          135. In answering Paragraph 135 of the Complaint, Defendant lacks
   15   sufficient knowledge or information to form a belief as to the truthfulness of the
   16   allegations contained in this paragraph, and on that basis denies each and every
   17   allegation.
   18          136. In answering Paragraph 136 of the Complaint, this paragraph contains
   19   Plaintiff’s allegations paraphrasing the statutory language of California Labor Code
   20   section 1102.5, to which no response is required. To the extent a response is
   21   deemed required, Defendant admits Plaintiff purports to plead a cause of action
   22   under California Labor Code section 1102.5. Except as admitted, Defendant lacks
   23   sufficient knowledge or information to form a belief as to the truthfulness of the
   24   allegations contained in this paragraph, and on that basis denies each and every
   25   allegation, except to refer to the language of the referenced statute, which speaks
   26   for itself.
   27          137. In answering Paragraph 137 of the Complaint, Defendant denies that
   28   it violated any laws, including the Labor Code section 1102.5. Defendant further
                                               37
                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2672 Page 38 of 43



    1   denies that Plaintiff was harmed in any way, any damages are owed to Plaintiff,
    2   and that Plaintiff is entitled to any relief whatsoever.
    3          138. In answering Paragraph 138 of the Complaint, Defendant denies that
    4   it violated any laws, including the Labor Code section 1102.5. Defendant further
    5   denies that Plaintiff was harmed in any way, any damages are owed to Plaintiff,
    6   and that Plaintiff is entitled to any relief whatsoever.
    7          139. In answering Paragraph 139 of the Complaint, Defendant denies that
    8   it took any actions with malice, oppression, fraud, conscious disregard for
    9   Plaintiff’s rights, or the malicious intent of injuring Plaintiff. Defendant denies that
   10   Plaintiff was harmed in any way, any damages are owed to Plaintiff, and that
   11   Plaintiff is entitled to any relief whatsoever.
   12            EXHAUSTION OF ADMINISTRATIVE REMEDIES UNDER
   13                       GOVERNMENT CODE SECTION 1265(b)
   14          140. In answering Paragraph 140 of the Complaint, Defendant denies that
   15   Plaintiff exhausted her administrative remedies with respect to her seventh cause
   16   of action under California Labor Code section 1102.5. Except as so denied,
   17   Defendant lacks sufficient knowledge to form a belief as to the truthfulness of
   18   Plaintiff’s allegations that she exhausted her administrative remedies for her first
   19   through sixth causes of actions with the Department of Fair Employment and
   20   Housing, and on that basis, denies each and every remaining allegation in this
   21   paragraph.
   22                             DEMAND FOR JURY TRIAL
   23          This Paragraph of the Complaint contains Plaintiff’s request for a jury trial,
   24   to which no response is required. To the extent a response is deemed required,
   25   Defendant admits that Plaintiff requests a jury trial. Except as admitted, Defendant
   26   lacks sufficient knowledge or information to form a belief as to the truthfulness of
   27   the allegations contained in this paragraph, and on that basis denies each and every
   28   ///
                                                  38
                                                 ANSWER TO FIRST AMENDED COMPLAINT
                                                        CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2673 Page 39 of 43



    1   allegation, except to refer to the language of the referenced statute, which speaks
    2   for itself.
    3                                 PRAYER FOR RELIEF
    4          The remainder of Plaintiff’s Complaint constitutes Plaintiff’s prayer for
    5   relief, to which no response is required. To the extent a response is required,
    6   Defendant denies each and every allegation contained therein as it relates to
    7   Defendant and specifically denies that Plaintiff is entitled to any relief whatsoever.
    8                               AFFIRMATIVE DEFENSES
    9          Without waiving any of the foregoing, Defendant asserts the following
   10   separate and independent affirmative defenses:
   11                           FIRST AFFIRMATIVE DEFENSE
   12          1.      Plaintiff’s complaint, and each and every cause of action therein, fails
   13   to state facts sufficient to constitute any cause of action against Defendant.
   14                         SECOND AFFIRMATIVE DEFENSE
   15          2.      Plaintiff’s complaint, and each and every cause of action therein, is
   16   barred by reason of Defendant’s governmental immunity, pursuant to California
   17   Government Code sections 815.2, 820.2, and 821.6.
   18                           THIRD AFFIRMATIVE DEFENSE
   19          3.      Plaintiff’s complaint, and each and every cause of action therein, is
   20   barred by the applicable statute of limitations and case law, including, but not
   21   limited to, Code of Civil Procedure sections 335.1 and 340, subdivision (a);
   22   California Government Code sections 12960 and 12965; and Stanley v. Trs. of
   23   Cal. State Univ., 433 F.3d 1129, 1135-36 (9th Cir. 2006).
   24                         FOURTH AFFIRMATIVE DEFENSE
   25          4.      Plaintiff is estopped by her conduct from recovering any relief sought
   26   in the complaint, or in any purported cause of action alleged therein.
   27   ///
   28   ///
                                                   39
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2674 Page 40 of 43



    1                           FIFTH AFFIRMATIVE DEFENSE
    2          5.      By her conduct, Plaintiff has waived any right to recover any relief
    3   sought in the complaint, or in any purported cause of action alleged therein.
    4                           SIXTH AFFIRMATIVE DEFENSE
    5          6.      Plaintiff’s claims are barred by the doctrine of unclean hands.
    6                         SEVENTH AFFIRMATIVE DEFENSE
    7          7.      To the extent Plaintiff suffered any symptoms of mental or emotional
    8   distress or injury, they were the result of a pre-existing psychological disorder or
    9   alternative concurrent cause, and not the result of any act or omission of Defendant.
   10                          EIGHTH AFFIRMATIVE DEFENSE
   11          8.      If it is found that Plaintiff had a contractual right not to be terminated
   12   except for good cause and that Plaintiff was terminated from employment, Plaintiff
   13   was terminated with good cause.
   14                           NINTH AFFIRMATIVE DEFENSE
   15          9.      Plaintiff’s claims are barred on the ground that as to each and every
   16   contract, covenant or warranty alleged therein, Plaintiff committed a prior breach
   17   thereof, excusing any duty of further performance by Defendant.
   18                           TENTH AFFIRMATIVE DEFENSE
   19          10.     Plaintiff’s Labor Code section 1102.5 claim is barred by Plaintiff’s
   20   failure to exhaust internal grievance procedures. See Terris v. County of Santa
   21   Barbara (2018) 20 Cal.App.5th 551, 558, review denied (May 23, 2018).
   22                        ELEVENTH AFFIRMATIVE DEFENSE
   23          11.     There existed legitimate, non-discriminatory, and non-retaliatory
   24   reasons for the alleged acts of Defendant of which Plaintiff complains.
   25                         TWELFTH AFFIRMATIVE DEFENSE
   26          12.     The alleged acts of which Plaintiff complains were based on
   27   reasonable factors other than race, sex, disability, or any other prohibited factor,
   28   including Plaintiff’s alleged opposition to race and sex discrimination.
                                                 40
                                                   ANSWER TO FIRST AMENDED COMPLAINT
                                                          CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2675 Page 41 of 43



    1                       THIRTEENTH AFFIRMATIVE DEFENSE
    2          13.     Even if there was discrimination against Plaintiff (which Defendant
    3   denies), Plaintiff would have been terminated anyway.
    4                       FOURTEENTH AFFIRMATIVE DEFENSE
    5          14.     Plaintiff failed to cooperate in the process of reasonable
    6   accommodation.
    7                        FIFTEENTH AFFIRMATIVE DEFENSE
    8          15.     Plaintiff failed to cooperate in the interactive process.
    9                        SIXTEENTH AFFIRMATIVE DEFENSE
   10          16.     Plaintiff’s claims are barred because the actions complained of were
   11   protected by the free speech provisions of the First Amendment to the United States
   12   Constitution.
   13                       SEVENTEENTH AFFIRMATIVE DEFENSE
   14          17.     Any recovery on Plaintiff’s complaint, or any purported cause of
   15   action alleged therein, is barred in whole or in part by Plaintiff’s failure to mitigate
   16   her damages.
   17                       EIGHTEENTH AFFIRMATIVE DEFENSE
   18          18.     Any recovery on Plaintiff’s complaint or any purported cause of action
   19   alleged therein, is barred in whole or in part by after-acquired evidence which
   20   independently justified Plaintiff’s termination.
   21                       NINETEENTH AFFIRMATIVE DEFENSE
   22          19.     Plaintiff is not entitled to recover punitive or exemplary damages from
   23   Defendant on the grounds that any award of punitive or exemplary damages would
   24   violate Defendant’s constitutional rights under the Due Process Clauses of the Fifth
   25   and Fourteenth Amendments of the United States Constitution.
   26          WHEREFORE, this answering Defendant prays as follows:
   27          20.     That Plaintiff take nothing by her complaint for damages;
   28   ///
                                                   41
                                                  ANSWER TO FIRST AMENDED COMPLAINT
                                                         CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2676 Page 42 of 43



    1          21.     That Plaintiff’s complaint herein be dismissed in its entirety with
    2   prejudice;
    3          22.     That Defendant recover its costs of suit herein, including its
    4   reasonable attorneys’ fees; and
    5          23.     That the Court award such other and further relief as it deems
    6   appropriate.
    7    Dated: May 10, 2019                       Respectfully submitted,
    8
                                                   FISHER & PHILLIPS LLP
    9
                                              By: /s/ Kevonna J. Ahmad
   10                                             Regina A. Petty
                                                  Adam F. Sloustcher
   11                                             Kevonna J. Ahmad
   12                                             Attorneys for Defendant
                                                  Palomar Community College District
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                                                ANSWER TO FIRST AMENDED COMPLAINT
                                                       CASE NO. 3:18-CV-02877-AJB-MSB
        FPDOCS 35360692.1
Case 3:18-cv-02877-AJB-MSB Document 21 Filed 05/10/19 PageID.2677 Page 43 of 43



    1                            CERTIFICATE OF SERVICE
    2         I, the undersigned, am employed in the County of San Diego, State of
        California. I am over the age of 18 and not a party to the within action; am
    3   employed with the law offices of Fisher & Phillips LLP and my business address
        is 4747 Executive Drive, Suite 1000, San Diego, California, 92121.
    4
               On May 10, 2019 I served the foregoing document entitled DEFENDANT
    5   PALOMAR COMMUNITY COLLEGE DISTRICT’S ANSWER AND
        AFFIRMATIVE DEFENSES TO PLAINTIFF’S FIRST AMENDED
    6   COMPLAINT on all the appearing and/or interested parties in this action by
        placing     the original       a true copy thereof enclosed in sealed envelope(s)
    7   addressed as follows:
    8    Evan Dwin, Esq.                            Telephone: (760) 536-6471
         DWIN LEGAL, APC                            Facsimile: (760) 585-4649
    9    2121 Palomar Airport Road, Suite 170 E-Mail: EDwin@DwinLegal.com
         Carlsbad, CA 92011                         Attorneys for Plaintiff
   10                                               Kathryn Kailikole
         [by MAIL] - I am readily familiar with the firm’s practice of collection and
   11      processing correspondence for mailing. Under that practice it would be
           deposited with the U.S. Postal Service on that same day with postage thereon
   12      fully prepaid at San Diego, California in the ordinary course of business. I am
           aware that on motion of the party served, service is presumed invalid if postage
   13      cancellation date or postage meter date is more than one day after date of deposit
           for mailing this affidavit.
   14
         [by ELECTRONIC SUBMISSION] - I served the above listed document(s)
   15     described via the United States District Court’s Electronic Filing Program on the
          designated recipients via electronic transmission through the CM/ECF system
   16     on the Court’s website. The Court’s CM/ECF system will generate a Notice of
          Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
   17     users in the case. The NEF will constitute service of the document(s).
          Registration as a CM/ECF user constitutes consent to electronic service through
   18     the court’s transmission facilities.
   19    [by OVERNIGHT SERVICE] - I am readily familiar with the firm’s practice
          for collection and processing of correspondence for overnight delivery. Under
   20     that practice such correspondence will be deposited at a facility or pick-up box
          regularly maintained by the overnight service for receipt on the same day in the
   21     ordinary course of business with delivery fees paid or provided for in accordance
          with ordinary business practices.
   22
              I declare that I am employed in the office of a member of the bar of this
   23   Court at whose direction the service was made.
   24          Executed May 10, 2019 at San Diego, California.
   25     Angela D. Mastin                     By:
   26

   27

   28

                                                 1
                                      CERTIFICATE OF SERVICE
        FPDOCS 35360692.1
